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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

  KEVIN FRYE                                                       DEMAND FOR JURY TRIAL

  Plaintiff

  v.

  T-MOBILE USA, INC.

  Defendant

  ________________________________/

                                      VERIFIED COMPLAINT

            COMES NOW the Plaintiffs, Kevin Frye, through undersigned counsel, (herein referred

  to as “Plaintiff” or “Frye”) and states in support as follows:

                                    NATURE OF THE ACTION

       This is an action for COUNT I: VIOLATION OF THE FEDERAL

  COMMUNICATIONS ACT, COUNT II: NEGLIGENCE, COUNT III: GROSS

  NEGLIGENCE, COUNT IV: NEGLIGENT HIRING, RETENTION AND

  SUPERVISION, COUNT V: VIOLATIONS OF THE COMPUTER FRAUD AND

  ABUSE ACT.

                                          INTRODUCTION

       1.      This action arises out of T-Mobile USA, Inc.’s (hereinafter “T-Mobile”) systemic and

       repeated failures to protect and safeguard its customers’ highly sensitive personal and




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     financial information against common, widely reported, and foreseeable attempts to illegally

     obtain such information.

      2.    As a result of T-Mobile’s misconduct as alleged herein, including their gross

     negligence in protecting customer information, its negligent hiring and supervision of

     customer support personnel and its violations of federal and state laws designed to protect

     wireless service consumers, Plaintiff lost 1.91130741 bitcoin (“BTC”), with a current

     estimated value in excess of $87,000 due to an account takeover scheme (also known as a

     “SIM-swap”) which could not have occurred but for Defendant’s intentional actions and

     negligent practices, as well as their repeated failure to adhere to federal and state laws.

                                         PARTIES

      3.    Plaintiff Kevin Frye is a resident of Broward, County, Florida.

      4.    Defendant is a Delaware corporation with a principal place of business in the

     State of Washington.

                                  JURISDICTION AND VENUE

      5.    This Court has jurisdiction of Plaintiff’s claims pursuant to 28 U.S.C. §§1331, as this

     case arises under federal statutes, such as the Federal Communications Act (“FCA”) at 47

     U.S.C. §222, the Stored Communications Act (“SCA”) at 18 U.S.C. §2701, and the

     Computer Fraud and Abuse Act (“CFAA”) at 18 U.S.C. §1030.

      6.    Furthermore, the Court has jurisdiction under 28 U.S.C. §1332 in that the

     amount in controversy exceeds $75,000.00, inclusive of attorney fees, costs, and

     statutory interest, and Plaintiff and Defendant are citizens of different states.




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         7.     Venue is proper in this court as the events relevant to this action occurred in

        the County of Broward, which is located in the United States District Court for the

        Southern District of Florida.

         8.     Pursuant to the Court’s supplemental jurisdiction under 28 U.S.C. §1367, it

        may entertain the state law claims as they are derived from a common nucleus of

        operative facts.

         9.     The Defendant has established minimum contacts within Florida subjecting

        them to jurisdiction herein.

         10.    Plaintiff Frye entered into a contract with Metro by T-Mobile (hereinafter

        “T-Mobile”) in approximately 2013.1

         11.    Defendant T-Mobile provided their services in Broward County, Florida and

        Plaintiff Frye utilized cell towers operated by the Defendant in Broward County,

        Florida.

         12.    T-Mobile, by operating, conducting, engaging in, or carrying on a business

        venture in the State of Florida, T-Mobile availed itself to the personal jurisdiction in

        the State of Florida, pursuant to section 48.193(1)(a), Florida Statutes.

         13.    T-Mobile availed itself to the personal jurisdiction of the State of Florida by

        soliciting business within the State, pursuant to section 48.193(1)(f)(1), Florida

        Statutes.


  1
      In 2012, T-Mobile merged with and acquired Metro.




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      14.   T-Mobile availed itself to personal jurisdiction in the State of Florida by

     engaging in substantial business activity within the state, pursuant to Section

     48.193(2), Florida Statutes.

      15.   T-Mobile’s actual interactions establish a physical presence within the State

     of Florida. The commercial quality and interaction with businesses and individuals

     within the State of Florida establish a “plus” factor to establish sufficient minimum

     contacts. Cf. Roblor Mktg. Group, Inc. v. Gps Indus., Inc., 645 F. Supp. 2d 1130

     (S.D. Fla. 2009).

      16.   The plaintiff’s claims all arise out of or relate to the defendant's contacts with

     the forum thus satisfying the Fourteenth Amendment's Due Process Clause.

      17.   All conditions precedent to this action have been met through performance,

     or otherwise.

      18.    Plaintiff has retained the undersigned law firm to represent it in this action

     and is obligated to pay the firm a reasonable fee for its services.

                                    GENERAL BACKGROUND

      19.   T-Mobile markets and sells wireless cellular phone service through

     standardized wireless service plans via various retail locations, online sales, and

     over the telephone.

      20.   T-Mobile has approximately 1,015 stores in Florida and approximately 119

     stores in South Florida, including Fort Lauderdale.

      21.   The Defendant has a substantial advertising budget in Florida where it




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     estimated they spend millions annually marketing their services to residents of South

     Florida.

      22.   T-Mobile maintains accounts for its wireless customers, enabling them to

     access information about the services they purchase from T-Mobile.

      23.   It is widely recognized and has been widely publicized that mishandling of

     customer wireless accounts, including, but not limited to, allowing unauthorized

     access, can facilitate identity theft and related consumer harm.

      24.   Numerous instances of mishandling of customer account information have

     occurred at T-Mobile.

      25.   As one of the nation’s largest wireless carriers, T-Mobile’s operations must

     comply with various federal and state statutes, including (but not limited to) the

     Federal Communications Act ("FCA") 47 U.S.C. §222.

      26.   The FCA obligates T-Mobile to protect the “confidential proprietary

     information of [its] customers” and “customer proprietary network information”

     (commonly referred to as “CPI” and “CPNI”, respectively). See 47 U.S.C. §222(a),

     (c).

      27.   The Federal Communications Commission (“FCC”) has promulgated rules

     to implement Section 222 of the FCA “to ensure that telecommunications carriers

     establish effective safeguards to protect against unauthorized use or disclosure of

     CPNI.” 1998 CPNI Order, 13 FCC Rcd. at 8195 ¶193; see also 47 C.F.R. §64.2001

     et seq. (“CPNI Rules”).




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      28.   The CPNI Rules limit disclosure and use of CPNI without customer approval

     to certain limited circumstances (such as cooperation with law enforcement), none

     of which are applicable to the facts here. See 47 C.F.R. §64.2005.

      29.   The CPNI Rules also require carriers to implement safeguards to protect

     customers’ CPNI. See 47 C.F.R. §64.2009(b), (d), and (e).

      30.   These safeguards include: (a) training personnel “as to when they are and are

     not authorized to use CPNI”; (b) establishing “a supervisory review process

     regarding carrier compliance with the rules”; and (c) filing annual compliance

     certificates with the FCC. Id.

      31.   The CPNI Rules further require carriers to implement measures to prevent

     the disclosure of CPNI to unauthorized individuals. For example, “carriers must take

     reasonable measures to discover and protect against attempts to gain unauthorized

     access to CPNI.” See 47 C.F.R. §64.2010(a).

      32.   T-Mobile regularly holds itself out to the general public as a secure and

     reliable custodian of customer data, including customer’s confidential financial and

     personal information.

      33.   T-Mobile maintains that it uses a variety of “administrative, technical,

     contractual, and physical safeguards” to protect customers’ data “against security

     incidents, and illegal, fraudulent, or unauthorized activities; investigate suspicious

     traffic, cybersecurity threats or vulnerabilities, complaints, and claims; authenticate




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     your credentials for account access and information and provide other security

     protections, as of August 9, 2021, See https://www.t-mobile.com/privacy-

     center/our-practices/privacy-policy.

      34.   As an example, T-Mobile explicitly states that “when you contact us by

     phone or visit us in our stores, we have procedures in place to make sure that only

     the primary account holder or authorized users have access.”

      35.   Upon information and belief, T-Mobile’s sales and marketing materials make

     similar representations regarding T-Mobile’s alleged implementation of various

     safeguards to protect its customers’ private information (as required by statutes).

      36.   T-Mobile’s deceptive statements are designed to cover up for the fact that it

     is aware that their security procedures can and do fall short of their expressed and

     implied representations and promises, as well as their statutory duties.

      37.   Such failures, which lead to unauthorized access of customers’ information,

     were entirely foreseeable by T-Mobile.

                                 SIM CARD SWITCH

      38.   As T-Mobile is aware, various forms of account takeover fraud have been

     widely reported in the press, by government regulators (including the Federal Trade

     Commission (“FTC”) and the FCC), academic publications, and multiple lawsuits

     across the country.

      39.   These illegal schemes involve criminals and fraudsters gaining access to or




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     “hijacking” customer wireless accounts, which often include sensitive personal and

     financial information, to induce third parties to conduct transactions with individuals

     they believe to be legitimate or known to them.

      40.   Sometimes these schemes are perpetrated by employees of the wireless

     carriers, such as T-Mobile.

      41.   One of the most damaging and pervasive forms of account takeover fraud is

     known as a “SIM-Swap”, whereby a third-party (with the help of a wireless carrier

     like T-Mobile) is allowed to transfer access to a customer’s cellular phone number

     from the customer’s registered “subscriber identity module” card (or “SIM card”) –

     to a SIM card controlled by the third party.

      42.   A SIM Card has a complete record of a user’s cell phone history, inclusive

     of text messages, calls, and any Apps which a user has downloaded.

      43.   A SIM swap is when a hacker convinces a carrier to switch a phone number

     over to a SIM card they own. Once a hacker has access to the phone number then

     they control the text-based two-factor authentication checks specifically designed to

     add a layer of protection to sensitive accounts such as bank accounts, social media

     accounts, and email accounts.

      44.   The wireless carrier, however, must effectuate the SIM card reassignment

     and, therefore, “SIM-swapping” is not an isolated criminal act, as it requires the

     wireless carrier’s active involvement to swap the SIM containing information

     regarding its customer to an unauthorized person’s phone.




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      45.    Indeed, unlike a direct hack of data, whereby a company like T-Mobile plays

     a more passive role, SIM-swaps are ultimately effectuated by the wireless carrier

     itself. For instance, in this case, it is T-Mobile that approved and allowed the SIM

     card change (without Plaintiff’s authorization), as well as all of the subsequent

     telecommunication activity that was used to access Plaintiff’s online accounts and

     cause the injuries suffered by Plaintiff.

      46.    As such, by directly or indirectly exceeding the authorized access to

     customer accounts, wireless carriers such as T-Mobile may be liable under state and

     federal statutes, such as the Federal Communications Act (“FCA”).

      47.    Once a third-party has access to the legitimate user’s SIM card data, it can

     then seamlessly impersonate that legitimate wireless customer (e.g., in

     communicating with others or contacting various vendors).

      48.    A common target of SIM-swapping and account takeover fraud are

     individuals known, or expected, to hold cryptocurrency, because account

     information is often contained on users’ cellular phones, allowing criminals to

     transfer the legitimate user’s cryptocurrency to an account the third-party controls.

      49.    The Federal Communications investigated T-Mobile and on February 28,

     2020 released a report which read as follows:

  The American public and federal law consider such information highly personal and
  sensitive—and justifiably so. As the Supreme Court has observed, location data
  associated with wireless service “provides an intimate window into a person’s life,
  revealing not only his particular movements, but through them his familial, political,




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   professional, religious, and sexual associations.”4 Section 222 of the Communications
   Act requires carriers to protect the confidentiality of certain customer data related to the
   provision of telecommunications service, including location information. The
   Commission has advised carriers that this duty requires them to take “every reasonable
   precaution” to safeguard their customers’ information. The Commission has also
   warned carriers that the FCC would “[take] resolute enforcement action to ensure that
   the goals of section 222 are achieved.


   Today, we do exactly that. In this Notice of Apparent Liability, we propose a penalty of
   $91,630,000 against T-Mobile USA, Inc. (T-Mobile or Company) for apparently violating
   section 222 of the Communications Act and the Commission’s regulations governing the
   privacy of customer information. We find that T-Mobile apparently disclosed its
   customers’ location information, without their consent, to third parties who were not
   authorized to receive it. In addition, even after highly publicized incidents put the
   Company on notice that its safeguards for protecting customer location information were
   inadequate, T-Mobile apparently continued to sell access to its customers’ location
   information for the better part of a year without putting in place reasonable
   safeguards—leaving its customers’ data at unreasonable risk of unauthorized
   disclosure.2

          50.     The prevalence of SIM-swap fraud and T-Mobile’s knowledge of such fraud,

         including, but not limited to, that performed with the active participation of its own

         employees, demonstrate that what happened with Plaintiff’s account was neither an

         isolated incident nor an unforeseeable event.

          51.     As a regulated wireless carrier, T-Mobile has a well-established duty – one

         which it freely acknowledges on its corporate website – to protect the security and

         privacy of CPI and CPNI from unauthorized access and T-Mobile is obligated to

         certify its compliance with this mandate to the FCC every year.3

   2
       In the Matter of T-Mobile USA, Inc., File No. EB-TCD-18-00027702 (February 28, 2020), page 1786.
   3
       See, e.g., https://www.t-mobile.com/privacy-center/education-and-resources/cpni.




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      52.    The prevalence of SIM-swap fraud and T-Mobile’s knowledge of such fraud,

      including, but not limited to, that performed with the active participation of its own

      employees, demonstrate that what happened with Plaintiff’s account was neither an

      isolated incident nor an unforeseeable event.

      53.    As a regulated wireless carrier, T-Mobile has a well-established duty – one

      which it freely acknowledges on its corporate website – to protect the security and

      privacy of CPI and CPNI from unauthorized access and T-Mobile is obligated to

      certify its compliance with this mandate to the FCC every year.

      54.    The FCA expressly restricts carriers like T-Mobile from unauthorized

      disclosure of CPNI.

      55.    In light of the above, at the time of the events at issue in the present case, T-

      Mobile was keenly aware of its obligations, as well as multiple weaknesses in its

      internal processes and procedures to authenticate legitimate customers.

      56.    The failure of T-Mobile to have proper safeguards and security measures as

      recommended by the FCC resulted in damages to Plaintiff in an amount to be

      determined at trial.

                                 FACTUAL ALLEGATIONS

      57.    Plaintiff Frye has been a T-Mobile customer since approximately 2013 and

      has had the phone number 954-290-7877.

      58.    Plaintiff was using his phone on or about July 6, 2021 when suddenly he had

      no service. This was not uncommon however and the Defendant thought coverage




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      was out due to the discussion of an impending storm.

      59.     When Frye attempted to make a call he received a message that he needed to

      register his device.

      60.     On or about July 7, 2021, Plaintiff Frye visited the T-Mobile store at 9180

      W State Rd 84, Davie, FL 33324. A T-Mobile representative informed Frye that he

      had just purchased a new phone that his number had been ported over to that device.

      61.     Frye was told by a representative that numbers get ported over by accident

      all the time.

      62.     A T-Mobile Representative then ported the number back to his phone. No

      identification or password/security pin was required in order to port Frye’s number

      back to his phone.

      63.     Subsequently, Frye had to reset his password by literally telling a

      representative over the phone his new password, there was never an option to

      discreetly enter his own password, which allowed representatives from T-Mobile to

      access the account and/or change the password at any time.

      64.     While in the local T-Mobile Store in Davie, Florida, a T-Mobile

      Representative informed Frye that hackers wouldn’t have been able to get access to

      his apps. However, representatives failed to caution Frye to check his email account

      and change his passwords.

      65.     Upon information and belief, it was via email that hackers were able to access

      and gain control of Frye’s passwords, including but not limited to, his Coinbase




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      Account.

      66.    After regaining use of his phone, Plaintiff logged into his Coinbase Account

      and his Wells Fargo Account only to see everything appeared normal, his account

      balances were the same as before.

      67.    T-Mobile personnel should have been trained properly in order to inform

      Frye to immediately freeze all his accounts and change all his passwords.

      68.    Subsequently, on or about July 12, 2021, Frye received a message from Well

      Fargo that his account was about to be overdrawn. Upon logging into his Wells Fargo

      account, he discovered that he had been hacked.

      69.    The hackers effected ACH Transfers from his Wells Fargo Account to his

      Coinbase Account in the amount of $1,000.00 and $536.00 on July 9, 2021.

      70.    The hackers continued making smaller transfers until July 13, 2021 when

      they attempted transfers of $15,000.00 and $34,400.00, which triggered the

      notification from Wells Fargo that his account was to be overdrawn.

      71.    Had the hackers not attempted to overdraw the Wells Fargo Account, which

      triggered a warning message, then Plaintiff would also have lost all the money in his

      Wells Fargo Account.

      72.    Subsequently, Frye attempted to login to his Coinbase Account, which is

      when he discovered that he couldn’t log in. The hackers had changed his password

      and withdrawn 1.91130741 Bitcoin, worth a current estimated value of $87,000.00,

      based upon the market valuation at the time this complaint was written.




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      73.    On August 2, 2021, T-Mobile sent Frye a letter acknowledging that there

      were two independent security breaches (See attached Exhibit “A”).

      74.    According to T-Mobile, the first security breach occurred at 6:27:22 PM CST

      and lasted until 6:38:08 PM CST.

      75.    According to T-Mobile, the second security breach occurred the following

      day on July 7, 2021 at 6:31:25 PM CST and lasted until 6:45:14 PM CST.

      76.     During the breach, the hackers were able to disable Coinbase’s notification

      system, thus enabling them to make numerous undetected transfers from Frye’s

      Account. The hackers placed filters which sent all the email notifications from

      Coinbase directly to Frye’s Spam email account.

                            LACK OF SECURITY PROTOCOLS

      77.    T-Mobile has been on notice for years that their security measures were not

      adequate. Despite this, sufficient security measures were not in place to prevent this

      SIM Card swap and the corresponding theft.

      78.    A SIM swapping attack is otherwise known as SIM splitting, SIMjacking,

      SIM hijacking, and port-out scamming. It’s a scam that happens when fraudsters use

      the weakness of two-factor authentication and verification which involves the

      second step of the process receiving a text message or phone call to your cellphone

      number.

      79.    Despite this knowledge of inherent security flaws, T-Mobile and its Officers

      and directors acted with a conscious and reckless disregard of the security of




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      customers, failing to ratify and implement policies that would protect its customers’

      accounts.

      80.    A valid driver’s license and a valid pin/security code should have been

      required in order to port a number to a new phone.

      81.    Security measures should have been in place which required the original SIM

      to be present in order for that information to be placed onto a new device.

      82.    The fact that Frye’s number was ported over without the original Sim device

      being present and without a valid ID corroborating Frye’s identity point to either

      completely substandard security procedures or this being an inside job by a T-Mobile

      Representative.

      83.    T-Mobile should require SIM Card swaps to be done in person via their

      extensive network of stores.

      84.    After the SIM Card Swap took place, T-Mobile Representatives should have

      advised Smith to check any brokerage accounts, bank accounts, crypto accounts, and

      immediately freeze/stop payments on all activity associated with those accounts.

      85.    T-Mobile Representatives were either complicit with the theft or grossly

      negligent.

      86.    T-Mobiles’ officers and directors exhibited a conscious and reckless

      disregard for the security of its customers by failing to implement sufficient security

      protocols.

      87.    Frye has filed a police report with Broward Sherriff’s Office as well as with




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      the FBI.

                                       CAUSES OF ACTION

      COUNT I: VIOLATION OF THE FEDERAL COMMUNICATION ACT

      88.    Plaintiff incorporates by reference all facts and allegations of paragraphs 1-

      87 of this Complaint, as if the same were fully set forth herein.

      89.    The FCA regulates interstate telecommunications carriers, including T-

      Mobile.

      90.    T-Mobile is a “common carrier” or a “telecommunications carrier” engaged

      in interstate commerce by wire for the purpose of furnishing communication services

      within the meaning of Section 201(a) of the FCA. See 47 U.S.C. §201(a).

      91.    As a “common carrier”, T-Mobile is subject to the substantive requirements

      of Sections 201 through 222 of the FCA. See 47 U.S.C. §§201-222.

      92.    Under Section 201(b) of the FCA, common carriers may implement only

      those practices, classifications, and regulations that are “just and reasonable” and

      practices that are “unjust or unreasonable” are unlawful.

      93.    Section 206 of the FCA, entitled “Carriers’ liability for damages” provides:

         In case any common carrier shall do, or cause or permit to be done, any act,
         matter, or thing in this chapter prohibited or declared to be unlawful, or shall
         omit to do any act, matter, or thing in this chapter required to be done, such
         common carrier shall be liable to the person or persons injured thereby for the
         full amount of damages sustained in consequence of any such violation of the
         provisions of this chapter, together with a reasonable counsel or attorney’s fee,
         to be fixed by the court in every case of recovery, which attorney’s fee shall be
         taxed and collected as part of the costs in the case.




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        94. Section 207 of the FCA, entitled “Recovery of damages”
       further provides:

          Any person claiming to be damaged by any common carrier
          subject to the provisions of this chapter may either make
          complaint to the [FCC] as hereinafter provided for, or may bring
          suit for the recovery of the damages for which such common
          carrier may be liable under the provisions of this chapter, in any
          district court of the United States of competent jurisdiction; but
          such person shall not have the right to pursue both remedies.

       95.     Additionally, Section 222(c) of the FCA explicitly requires that

       telecommunications carriers protect its customers’ CPNI. See 47 U.S.C. §222(c).

       96.     According to the CPNI Rules:

   Safeguarding CPNI. Telecommunications carriers must take reasonable
   measures to discover and protect against attempts to gain unauthorized
   access to CPNI. Telecommunications carriers must properly authenticate
   a customer prior to disclosing CPNI based on customer-initiated contact,
   online account access, or an in-store visit.
                                                  …

   In-store access to CPNI. A telecommunications carrier may disclose
   CPNI to a customer who, at a carrier’s retail location, first presents to the
   telecommunications carrier or its agent a valid photo ID matching the
   customer’s account information.


              T-Mobile violated its duties under Section 222 of the FCA by failing to

              protect Plaintiff’s CPI and CPNI by using, disclosing, or permitting access to

              Plaintiff’s CPI and CPNI without the consent, notice, and/or legal

              authorization of Plaintiff as required by the FCA, in that upon information

              and belief:

                              a. during an in-store visit, or over the phone, Plaintiff’s CPI




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                                 and CPNI were disclosed to someone other than Plaintiff

                                 by an agent of Defendant;

                             b. during an in-store visit, or over the phone,, Plaintiff’s CPI

                                 and CPNI were disclosed to someone, who was not

                                 properly authenticated by Defendant; during an in-store

                                 visit, or over the phone, Plaintiff’s CPI and CPNI were

                                 disclosed to someone, who did not first present a valid

                                 photo ID to Defendant.

      97.    As alleged herein, T-Mobile failed to protect the confidentiality of Plaintiff’s

      CPI and CPNI when it disclosed Plaintiff’s CPNI and CPI to third-parties without

      Plaintiff’s authorization or permission.

      98.    T-Mobile’s conduct, as alleged herein, constitute knowing violations of the

      FCA, including sections 201(b) and 222, as well as the CPNI Rules.

      99.    T-Mobile is also liable for the acts, omissions, and/or failures, as alleged

      herein, or its officers, employees, agents, or any other persons acting for or on behalf

      of T-Mobile.

      100. T-Mobile’s violation of the FCA allowed unauthorized parties to

      impersonate Plaintiff in transactions with others.

      101. T-Mobile violated the FCA, including Section 222, by allowing an

      unauthorized party to access Plaintiff’s CPI and CPNI, resulting in, inter alia,

      Plaintiff’s loss of his possessions, including 1.91130741 Bitcoin.




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      102. As a direct consequence of T-Mobile’s violations of the FCA, Plaintiff has

      been damaged through the loss of his property, namely 1.91130741 Bitcoin.

      103. Had T-Mobile not allowed the unauthorized access to Plaintiff’s account,

      Plaintiff would not have suffered this loss.

      104. T-Mobile, by its inadequate procedures, practices, and regulations, engages

      in practices which, when taken together:

                 a. fail to provide reasonable, appropriate, and sufficient security to

                     prevent unauthorized access to its customers’ wireless accounts;

                 b. allow unauthorized persons to be authenticated; and

                 c. grant access to sensitive customer account information.

      105. In particular, T-Mobile failed to establish and implement reasonable policies,

      procedures and safeguards governing the creation, access, and authentication of user

      credentials to access customers’ accounts, creating an unreasonable risk of

      unauthorized access.

      106. As such, in violation of the FCA, T-Mobile has failed to ensure that only

      authorized persons have access to customer account data and that customers’ CPI

      and CPNI are secure.

      107. Among other things, T-Mobile:

                 a. failed to establish and enforce rules and procedures sufficient to

                     ensure only authorized persons have access to T-Mobile customer

                     accounts, including that of Plaintiff;




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              b. failed to establish appropriate rules, policies and procedures for the

                 supervision and control of its officers, agents and employees;

              c. failed to establish and enforce rules and procedures, or provide

                 adequate supervision or training sufficient to ensure that its

                 employees and agents follow such rules and procedures, to restrict

                 access by unauthorized persons;

              d. failed to establish and enforce rules and procedures to ensure T-

                 Mobile’s employees and agents adhere to the security instructions of

                 customers with regard to accessing customers’ accounts, including

                 that of Plaintiff;

              e. failed to adequately safeguard and protect its customers’ wireless accounts;

              f. permitted the sharing of and access to user credentials among T-

                 Mobile’s agents or employees without a pending request from the

                 customer, reducing the likely detection of and accountability for

                 unauthorized access;

              g. failed to appropriate supervise employees and agents, who granted

                 unauthorized access to customers’ accounts, including that of

                 Plaintiff;

              h. failed to adequately train and supervise its employees, officers and

                 agents to prevent the unauthorized access to customer accounts;

              i. failed to prevent the ability of employees, officers and agents to




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                 access and make changes to customer accounts without specific

                 customer authorization;

              j. allowed “porting out” of cell phone numbers without properly

                 confirming that the request was coming from legitimate customers;

                           lacked proper monitoring and, therefore, failed to monitor

                           its systems for the presence of unauthorized access in a

                           manner that would allow T-Mobile to detect intrusions,

                           breaches of security, and unauthorized access to customer

                           information;

                        c. failed to implement and maintain readily available best

                           practices to safeguard customer information (and indeed,

                           seemed to suggest such practices were only available to

                           those customers who “paid for” the privilege of having

                           their information secured);

                        d. failed to timely diagnose and determine the cause of

                           Plaintiff’s service interruption;

                        e. failed to timely notify Plaintiff of the cause of Plaintiff’s

                           service interruption; and

                        f. failed to implement and maintain internal controls to help

                           protect against account takeovers and SIM-swaps by

                           unauthorized persons.




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      108. The inadequate security measures, policies and safeguards employed by T-

      Mobile created a foreseeable and unreasonable risk of unauthorized access to the

      accounts of its customers, including that of Plaintiff.

      109. Upon information and belief, T-Mobile has been long aware of its inadequate

      security measures, policies and safeguards, and nevertheless, induced customers into

      believing that its systems were secure and compliant with applicable law.

      110. T-Mobile, despite knowing the risks associated with unauthorized access to

      customer accounts, failed to utilize reasonable and available methods to prevent or

      limit such unauthorized access.

      111. T-Mobile failed in its duty to protect and safeguard customer information

      and data pursuant to federal law.

      112. Had T-Mobile implemented appropriate and reasonable security measures,

      Plaintiff would not have been damaged.

      113. In sum, Defendant’s security measures were entirely inadequate to prevent

      the foreseeable damage caused to Plaintiff.

                                COUNT II: NEGLIGENCE

      114. Plaintiff incorporates by reference all facts and allegations of paragraphs 1-

      87 of this Complaint, as if the same were fully set forth herein.

      115. T-Mobile owes a duty of care to its customers to ensure the privacy and

      confidentiality of CPI and CPNI during its provision of wireless carrier services, as

      required by both federal and state law.




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      116. By allowing unauthorized access to the personal and confidential

      information of legitimate T-Mobile customers, T-Mobile breached its duty of care

      to its customers and to foreseeable victims, including Plaintiff.

      117. By failing to timely and properly diagnose the cause of Plaintiff’s service

      interruption, T-Mobile breached its duty of care to its customers and to foreseeable

      victims, including Plaintiff.

      118. But for the inadequate security protocols, practices, and procedures

      employed by T-Mobile in protecting customer data, including Plaintiff’s private and

      confidential information, Plaintiff would not have suffered any damage.

      119. But for the inadequate protocols, practices, and procedures employed by T-

      Mobile in diagnosing the causes of customers’ service interruptions, T-Mobile

      breached its duty of care to its customers and to foreseeable victims, including

      Plaintiff.

      120. But for those intentional actions and/or inaction of Defendant and its agents,

      Plaintiff would not have suffered damages.

      121. And but for T-Mobile’s inability to quickly and effectively diagnose and/or

      determine that Plaintiff’s account was compromised by a SIM-swap – a fact that T-

      Mobile should have known – Plaintiff would not have suffered damages.

      122. Plaintiff has been damaged through the loss of his property, namely

      1.91130741 Bitcoin, with a current estimated value in excess of $87,000.00.




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                          COUNT III: GROSS NEGLIGENCE

      123. Plaintiff incorporates by reference all facts and allegations of paragraphs 1-

      87 of this Complaint, as if the same were fully set forth herein.

      124. T-Mobile, as required by federal and state law, owed Plaintiff a duty to

      properly handle and safeguard Plaintiff’s CPI and CPNI and access to his account.

      125. T-Mobile was required to ensure its compliance with federal law and to

      protect the confidentiality of its customers’ account data, including that of Plaintiff.

      126. Upon information and belief, T-Mobile willfully disregarded and/or showed

      reckless indifference to its duties under federal and state law to T-Mobile customers

      and to foreseeable victims of T-Mobile’s wrongful acts.

      127. Having superior knowledge of prior account takeover attacks on T-Mobile

      customers’ data and having the ability to employ internal systems, procedures, and

      safeguards to prevent such attacks, T-Mobile nevertheless failed:

                             a. to institute appropriate controls to prevent unauthorized

                                 access to customers’ accounts;

                             b. utilized authentication systems it knew or should have

                                 known were vulnerable to account takeover attacks;

                             c. willfully disregarded the best practices of the industry in

                                 failing to implement systems to thwart such attacks; and

                             d. failed to appropriately hire, retain, supervise, train and

                                 control those officers, agents and employees who could




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                                 grant or obtain unauthorized access to customer account

                                 data.

      128. T-Mobile’s policies, procedures and safeguards were completely ineffective

      and inadequate to prevent the unauthorized access to its customers’ data,

      notwithstanding the requirements of the CFA, thus meeting the definition of gross

      negligence and warranting punitive damages for violating Florida Statute 768.72.

      COUNT IV: NEGLIGENT HIRING, RETENTION AND SUPERVISION

      129. Plaintiff incorporates by reference all facts and allegations of paragraphs 1-

      87 of this Complaint, as if the same were fully set forth herein.

      130. At all material times herein, T-Mobile’s agents, officers, and employees,

      including, but not limited to, those directly or indirectly responsible for or involved

      in allowing unauthorized access to Plaintiff’s confidential and proprietary account

      information, were under T-Mobile’s direct supervision and control.

      131. Upon information and belief, T-Mobile negligently hired, retained,

      controlled, trained and supervised the officers, agents and employees under its

      control, or knew or should have known that such officers, agents and employees

      could allow unauthorized access to customer accounts, including that of Plaintiff.

      132. Upon information and belief, T-Mobile negligently failed to implement

      systems and procedures necessary to prevent its officers, agents and employees from

      allowing or obtaining unauthorized access to customer accounts, including that of

      Plaintiff.




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      133. Upon information and belief, T-Mobile’s negligent hiring, retention, control,

      training and supervision allowed the unauthorized access to customers’ accounts

      resulting in damage to T-Mobile customers and foreseeable victims in the public at

      large, including Plaintiff.

      134. Given T-Mobile’s experience with account takeover and SIM-swap attacks

      (including some perpetrated and/or assisted by Defendant’s own employees, officers

      or agents), T-Mobile’s failure to exercise reasonable care in screening, supervising,

      and controlling its officers, agents and employees was a breach of its duty to its

      customers, including Plaintiff.

      135. T-Mobile’s duty to its customers and foreseeable victims to protect its

      customers’ data from unauthorized access is required by federal and state law.

      136. It was entirely foreseeable to T-Mobile that unauthorized persons would

      attempt to gain unauthorized access to T-Mobile customers’ data and, despite this,

      T-Mobile failed to implement sufficient safeguards and procedures to prevent its

      officers, agents and employees from granting or obtaining such unauthorized access.

      137. Upon information and belief, T-Mobile engaged in the acts alleged herein

      and/or condoned, permitted, authorized and/or ratified the conduct of its officers,

      agents and employees.

      138. As a direct consequence of T-Mobile’s negligent hiring, retention, control

      and supervision of its officers, agents and employees, who enabled or obtained the

      unauthorized access to Plaintiff’s account, Plaintiff was damaged through the loss




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      of his property, namely 1.91130741 BTC, with a current estimated value in excess

      of $87,000.

                         COUNT V: VIOLATIONS OF THE
                       COMPUTER FRAUD AND ABUSE ACT

      139. Plaintiff incorporates by reference all facts and allegations of paragraphs 1-

      87 of this Complaint, as if the same were fully set forth herein.

      140. The CFAA governs those who intentionally access computers without authorization

      or who intentionally exceed authorized access and as a result of such conduct, cause damage

      and loss.

      141. As alleged herein, a SIM-swap attack requires the intentional access to customer

      computer data by T-Mobile which exceeds its authority, and which conduct causes damage

      and loss. As such, T-Mobile is subject to the provisions of the CFAA.

      142. T-Mobile’s conduct, as alleged herein, constitutes a knowing violation of the

      CFAA.

      143. T-Mobile is also liable for the acts, omissions, and/or failures, as alleged herein, of

      any of its officers, employees, agents, or any other person acting for on behalf of T-Mobile.

      144. T-Mobile violated its duty under the CFAA by exceeding its authority to access the

      computer data and breach the confidentiality of the proprietary information of Plaintiff

      using, disclosing, or permitting access to Plaintiff’s CPNI without the consent, notice,

      and/or legal authorization of Frye as required by the CFAA.

      145. Section 1030(g) of the CFAA provides, in pertinent part:




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                  Any person who suffers damage or loss by reason of a violation of this
                  section may maintain a civil action against the violator to obtain
                  compensatory damages and injunctive relief or other equitable relief. A
                  civil action for a violation of this section may be brought only if the
                  conduct involves 1 of the factors set forth in subclauses (I), (II), (III),
                  (IV), or (V) of subsection (c)(4)(A)(i). Damages for a violation
                  involving only conduct described in subsection (c)(4)(A)(i)(I) are
                  limited to economic damages. No action may be brough under this
                  subsection unless such action is begun within 2 years of the date of the
                  act complained of or the date of the discovery of the damage….

      146. Plaintiff alleges he has suffered damages which exceed the threshold of $5,000.00

      as required by Section 1030(c)(4)(A)(i)(I) of the CFAA.

      147. Plaintiff alleges T-Mobile’s unlawful conduct has caused damage which exceeds

      approximately $87,000.00.

      148. Plaintiff has brought this claim within two (2) years of the date of discovery of the

      damage pursuant to Section 1030(g) of the CFAA.

      149. Plaintiff discovered damage on or about July 12, 2021.

      150. Upon information and belief, T-Mobile’s conduct as alleged herein constitutes a

      violation of Section (a)(5)(A) of the CFAA.

      151. Upon information and belief, T-Mobile’s conduct as alleged herein may constitute

      a reckless violation of Section (a)(5)(B) of the CFAA.

      152. Upon information and belief, T-Mobile’s conduct as alleged herein may constitute

      an intentional violation of Section (a)(5)(C) of the CFAA.

      153. As a direct consequence of T-Mobile’s violations of the CFAA, Plaintiff has been

      damaged in an amount to be proven at trial but, upon information and belief, exceeds




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      $87,000.00 plus fees and costs, including reasonable attorneys’ fees.

                                       PRAYER FOR RELIEF
           WHEREFORE Plaintiff prays for judgment against T-Mobile as follows:

           1) Enter judgment for Plaintiff on all counts

           2) Award compensatory damages to Plaintiff arising from T-Mobile’s negligence;

           3) Award statutory damages to Plaintiff for T-Mobile’s FCA violations;

           4) Award punitive damages to Plaintiff for T-Mobiles gross negligence and the
               conscious and reckless disregard of its customer’s data in violation of Florida Statute
               768.72.

           5) Award statutory damages to Plaintiff for T-Mobile’s CFAA violations;

           6) Award Plaintiff costs and reasonable attorneys’ fees;

           7) Award Plaintiff prejudgment interest; and

           8) Award Plaintiff such other and further relief as this Court deems just, fair,

               and proper.



     Plaintiffs hereby demand a jury trial.


                                          VERIFICATION

          Under penalty of perjury, I declare that I have read the foregoing, and the facts alleged

   therein are true and correct to the best of my knowledge and belief.



                                                   _______________________________
                                                         Kevin Frye




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and complete copy of this document was
   electronically filed with the clerk of courts in Southern District of Florida on the 10th day of
   August 2021.

                                                 Respectfully submitted,

                                                 Shrayer Law Firm, LLC.
                                                 912 South Andrews Avenue
                                                 Fort Lauderdale, FL 33316
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                                                 /s/Glen H. Shrayer

                                                  Glen H. Shrayer, Esq.
                                                  Fl Bar No. 57253




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